                                  Case 17-24938-AJC                  Doc 1        Filed 12/15/17           Page 1 of 47

Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Cruisin' On Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA The Produce Network
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2260 N.W. 13th Avenue                                           16421 N.W. 84th Court
                                  Miami, FL 33142                                                 Hialeah, FL 33016
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Miami-Dade                                                      Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  2260 N.W. 13th Avenue Miami, FL 33142
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       theproducenetwork@gmail.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                                       Case 17-24938-AJC                 Doc 1         Filed 12/15/17              Page 2 of 47
Debtor    Cruisin' On Inc.                                                                              Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                           None of the above

                                        B. Check all that apply
                                           Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
                                           Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12



9.   Were prior bankruptcy                 No.
     cases filed by or against
     the debtor within the last 8          Yes.
     years?
     If more than 2 cases, attach a
     separate list.                                District                                When                                  Case number
                                                   District                                When                                  Case number


10. Are any bankruptcy cases               No
    pending or being filed by a
    business partner or an                 Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                        Debtor     See Attachment                                                 Relationship
                                                   District                                When                              Case number, if known




Official Form 201                                Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 2
                                Case 17-24938-AJC                      Doc 1        Filed 12/15/17              Page 3 of 47
Debtor   Cruisin' On Inc.                                                                          Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                                  Case 17-24938-AJC                   Doc 1        Filed 12/15/17             Page 4 of 47
Debtor    Cruisin' On Inc.                                                                         Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      December 15, 2017
                                                  MM / DD / YYYY


                             X   /s/ Joseph M. Thornton                                                   Joseph M. Thornton
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President




18. Signature of attorney    X   /s/ James Alan Poe, Esquire                                               Date December 15, 2017
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 James Alan Poe, Esquire 0107956
                                 Printed name

                                 JAMES ALAN POE, P.A.
                                 Firm name

                                 9500 S. DADELAND BLVD.
                                 SUITE 610
                                 MIAMI, FL 33156
                                 Number, Street, City, State & ZIP Code

                                                                                                    JamesAPoe@bellsouth.net;JPoe@jamesalanpoe
                                 Contact phone     305-670-3950                  Email address      pa.com

                                 0107956
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
                                  Case 17-24938-AJC                Doc 1      Filed 12/15/17             Page 5 of 47
Debtor     Cruisin' On Inc.                                                                 Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                   Chapter      7
                                                                                                                     Check if this an
                                                                                                                     amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     Diamond Produce Wholesalers & Packers Inc.                              Relationship to you
District   Southern District of Florida               When                         Case number, if known
Debtor     Joseph M. Thornton                                                      Relationship to you
District   Southern Districut of Florida              When                         Case number, if known




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                 page 5
                                     Case 17-24938-AJC                        Doc 1        Filed 12/15/17            Page 6 of 47




 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                    Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          December 15, 2017                       X /s/ Joseph M. Thornton
                                                                       Signature of individual signing on behalf of debtor

                                                                       Joseph M. Thornton
                                                                       Printed name

                                                                       President
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                            Case 17-24938-AJC                                    Doc 1              Filed 12/15/17                         Page 7 of 47
 Fill in this information to identify the case:

 Debtor name            Cruisin' On Inc.

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           297,019.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           297,019.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $           188,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$        3,318,136.39


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $           3,506,136.39




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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                                     Case 17-24938-AJC                   Doc 1      Filed 12/15/17          Page 8 of 47
 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Biscayne Bank                                           Checking                        5145                                         $19.00




           3.2.     Regions Bank                                            Checking                        1101                                             $0.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                          $19.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                               page 1
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                                     Case 17-24938-AJC                      Doc 1       Filed 12/15/17       Page 9 of 47

 Debtor         Cruisin' On Inc.                                                                 Case number (If known)
                Name

13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last           Net book value of      Valuation method used   Current value of
                                                      physical inventory         debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 19.       Raw materials

 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Packing bags, boxes, 2
           shelves, 1 turn table, 1
           electric conveyor, 6
           balers (net master bags)                                                            $0.00                                        Unknown




 23.       Total of Part 5.                                                                                                                  $0.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
               No
               Yes. Book value                                       Valuation method                        Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used   Current value of
                                                                                 debtor's interest      for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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                                    Case 17-24938-AJC                    Doc 1     Filed 12/15/17          Page 10 of 47

 Debtor         Cruisin' On Inc.                                                              Case number (If known)
                Name

           4 desk chairs, 2 fire proof filing cabinets and 1
           refrigerator                                                                     $0.00                                        Unknown



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           3 Computers and 2 copy machines                                                  $0.00                                        Unknown



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                   $0.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                Net book value of      Valuation method used   Current value of
           Include year, make, model, and identification numbers              debtor's interest      for current value       debtor's interest
           (i.e., VIN, HIN, or N-number)                                      (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

           47.1.     2008 Isuzu Refrigerator truck                                    $10,000.00     N/A                               $25,000.00


           47.2.     2008 Freightliner - 26 ft refrigerated
                     truck                                                            $22,000.00     Comparable sale                   $22,000.00



 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           Packing machine, air compressors - Lease
           option to buy                                                             $250,000.00     Comparable sale                  $250,000.00




 51.       Total of Part 8.                                                                                                       $297,000.00
           Add lines 47 through 50. Copy the total to line 87.

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                                    Case 17-24938-AJC                    Doc 1     Filed 12/15/17       Page 11 of 47

 Debtor         Cruisin' On Inc.                                                             Case number (If known)
                Name

 52.        Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.        Has any of the property listed in Part 8 been appraised by a professional within the last year?
               No
               Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                    page 4
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                                       Case 17-24938-AJC                            Doc 1            Filed 12/15/17                  Page 12 of 47

 Debtor          Cruisin' On Inc.                                                                                    Case number (If known)
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                   $19.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                   $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $297,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $297,019.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $297,019.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                                                 Best Case Bankruptcy
                                    Case 17-24938-AJC                Doc 1      Filed 12/15/17          Page 13 of 47
 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
Software Copyright (c) 1996-2017 Best Case, LLC - www.bestcase.com                                                                         Best Case Bankruptcy
                                    Case 17-24938-AJC                          Doc 1           Filed 12/15/17                Page 14 of 47
 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                                   Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                     Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $0.00      $0.00
           Honorable Wilfredo A. Ferrer                              Check all that apply.
           United States Attorney                                       Contingent
           99 N.E. 4th Street                                           Unliquidated
           Miami, FL 33132                                              Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                 $0.00      $0.00
           Honroable Eric Holder                                     Check all that apply.
           Attorney General of the United                               Contingent
           States                                                       Unliquidated
           Department of Justice, Room 4400                             Disputed
           950 Pennsylvania Avenue N.W.
           Washington, DC 20530-0001
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                   page 1 of 14
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                                    Case 17-24938-AJC                          Doc 1           Filed 12/15/17                Page 15 of 47
 Debtor       Cruisin' On Inc.                                                                                Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                $188,000.00     $188,000.00
           Internal Revenue Service                                  Check all that apply.
           7850 SW 6th Court, Stop 5730                                 Contingent
           Fort Lauderdale, FL 33324                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           2014, 2015 and 2016                                       1040
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.4       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           7850 SW 6th Court, Stop 5730                                 Contingent
           Fort Lauderdale, FL 33324                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.5       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Special Assistant United States                           Check all that apply.
           Attorney                                                     Contingent
           c/o IRS Counsel (SBSE)                                       Unliquidated
           51 S.W. 1st Avenue, P.O. Box 9                               Disputed
           Miami, FL 33130
           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $34,894.00
           AAA American Select Produce                                                 Contingent
           1200 N.W. 13th Avenue                                                       Unliquidated
           Miami, FL 33142                                                             Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Vendor
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $618.48
           Ally Financial                                                              Contingent
           P O Box 380902                                                              Unliquidated
           Bloomington, MN 55438-0902                                                  Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Lease
           Last 4 digits of account number      2559
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 2 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 16 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alvarez, Loor, Morejon & Associates                                   Contingent
          8201 Peters Road                                                      Unliquidated
          Suite 1000                                                            Disputed
          Fort Lauderdale, FL 33323
                                                                             Basis for the claim:    Collection for Eddy Coto Produce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Alvarez, Loor, Morejon & Associates                                   Contingent
          8201 Peters Road                                                      Unliquidated
          Suite 1000                                                            Disputed
          Fort Lauderdale, FL 33323
                                                                             Basis for the claim:    Colleciton for Hernandez & Luna Produce
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $25,500.00
          Ana Rodriguez                                                         Contingent
          3001 S.W. 17th Avenue                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,844.00
          Antelope Dist. Inc.                                                   Contingent
          P.O. Box 6170                                                         Unliquidated
          Lancaster, CA 93539                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $888.40
          Ascendant Comm Ins                                                    Contingent
          P.O. Box 141368                                                       Unliquidated
          Miami, FL 33114                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Workmans Comp
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $60,000.00
          Bank of Cardiff                                                       Contingent
          c/o Zach Miller                                                       Unliquidated
          P.O. Box 2562                                                         Disputed
          Del Mar, CA 92014-0562
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,592.00
          Bayshore Produce                                                      Contingent
          P.O. Box 531110                                                       Unliquidated
          Miami, FL 33153                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 3 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 17 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $59,537.70
          Biz CPA's                                                             Contingent
          1300 N.W. 84th Avenue                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Accounting Firm
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,400.00
          Blue Cross Blue Shield                                                Contingent
          P.O. Box 1798                                                         Unliquidated
          Jacksonville, FL 32231                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0645
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $133.75
          Blue Fire Protection Inc.                                             Contingent
          8240 N.W. 170th Terrace                                               Unliquidated
          Hialeah, FL 33015                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6251
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Bus Management                                                        Contingent
          P.O. Box 650448                                                       Unliquidated
          Dallas, TX 75265-0448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8007
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.   $1,022,771.38
          Bushman's Inc.                                                        Contingent
          P.O. Box 8                                                            Unliquidated
          Rosholt, WI 54473                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,726.00
          Chicago Produce                                                       Contingent
          1344 N.W. 23rd Street                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $526.08
          Chrysler Capital                                                      Contingent
          P.O. Box 660647                                                       Unliquidated
          Dallas, TX 75266-0647                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0356
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 4 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 18 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $564.66
          City of Miami                                                         Contingent
          Finance Dept.                                                         Unliquidated
          444 S.W. 2nd Avenue                                                   Disputed
          Miami, FL 33130
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7432                         Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $900.00
          Comcast Business                                                      Contingent
          One Concast Center                                                    Unliquidated
          1701 JFK Blvd.                                                        Disputed
          Philadelphia, PA 19103-2838
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       4417                         Is the claim subject to offset?     No       Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $620.00
          Crowley Maritine Corp.                                                Contingent
          9487 Regency Square Blvd. N.                                          Unliquidated
          Jacksonville, FL 32225                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       CRUONDHLF
                                                                             Is the claim subject to offset?     No       Yes

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Customized Brokers                                                    Contingent
          Crowley Logistics                                                     Unliquidated
          P.O. Box 2684                                                         Disputed
          Carol Stream, IL 60132-2684
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       CRUONDHLF                    Is the claim subject to offset?     No       Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $385.20
          Delta Alarm Systems                                                   Contingent
          P.O. Box 772575                                                       Unliquidated
          Miami, FL 33177                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6414
                                                                             Is the claim subject to offset?     No       Yes

 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $625.00
          Dependable Packing Solutions                                          Contingent
          3505 N.W. 123 Street                                                  Unliquidated
          Miami, FL 33167                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0492
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Dependable Packing Solutions                                          Contingent
          3505 N.W. 123 Street                                                  Unliquidated
          Miami, FL 33167                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0492
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 5 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 19 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $40,176.00
          DI Jenkins & Associates                                               Contingent
          P.O. Box 2196                                                         Unliquidated
          Charlottetown, PEI                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Diamond Produce Wholesalers & Packers In                              Contingent
          2260 N.W. 13th Avenue                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $60.00
          Doral Ins Advisors                                                    Contingent
          9556 N.W. 41st Street                                                 Unliquidated
          Miami, FL 33178                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       7171
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,476.00
          Eddy Coto Produce                                                     Contingent
          2151 N.W. 13th Avenue                                                 Unliquidated
          Bay 16-17                                                             Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Euler Helmes Collectios
          North America                                                         Contingent
          800 Red Brook Blvd.                                                   Unliquidated
          #400 C                                                                Disputed
          Owings Mills, MD 21117
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $45,795.00
          Exeter Produce & Storage Co. Ltd.                                     Contingent
          215 Thames Road West                                                  Unliquidated
          Exeter, Ontario Canada                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $300.00
          Federal Ex                                                            Contingent
          POB 660481                                                            Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       9239
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 6 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 20 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $39,500.67
          First Sound Bank                                                      Contingent
          925 4th                                                               Unliquidated
          Suite 2350                                                            Disputed
          Seattle, WA 98104
                                                                             Basis for the claim:    Packing machine
          Date(s) debt was incurred
          Last 4 digits of account number       0001                         Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $500.00
          Fla. Dept. of Ag & Consumer Serv.                                     Contingent
          Div of Food Safety                                                    Unliquidated
          P.O. Box 6720                                                         Disputed
          Tallahassee, FL 32314-6720
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       9508                         Is the claim subject to offset?     No       Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,832.00
          Florida Blue                                                          Contingent
          P.O. Box 1798                                                         Unliquidated
          Jacksonville, FL 32231-0014                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Fora Financial
          c/o Richard Watnick                                                   Contingent
          242 West 36th Street                                                  Unliquidated
          #14                                                                   Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Collection for Bank of Cardiff
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $174,629.75
          Forino Produce                                                        Contingent
          2535 Chemin de la I'glise                                             Unliquidated
          St. Clotilda, Quebec JOL 1WO                                          Disputed
          Canada
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $92,408.75
          Frank M. Minardo, LLC                                                 Contingent
          P.O. Box 20457                                                        Unliquidated
          Mesa, AZ 85277                                                        Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,465.50
          Fresh International Dist. LLC                                         Contingent
          1620 N.W. 21 Street                                                   Unliquidated
          Bay 1                                                                 Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 7 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 21 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,020.00
          Genaro Produce, Inc.                                                  Contingent
          1200 N.W. 22nd Street                                                 Unliquidated
          Unit #71-90                                                           Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $88,584.70
          Heritage Farms Produce                                                Contingent
          P.O. Box 138                                                          Unliquidated
          Belle Glade, FL 33430                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $21,658.00
          Hernandez & Luna Produce                                              Contingent
          2151 N.W. 13th Avenue                                                 Unliquidated
          Bay #31                                                               Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,152.00
          Horizon Packaging, Inc.                                               Contingent
          611 N. Wymore Road                                                    Unliquidated
          #212                                                                  Disputed
          Winter Park, FL 32789
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,031.25
          HYG Financial Services, Inc.                                          Contingent
          P.O. Box 310590                                                       Unliquidated
          Des Moines, IA 50331-0590                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       3004
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Insure Brite                                                          Contingent
          7884 West Flagler Street                                              Unliquidated
          Miami, FL 33144                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Insurance for Cruisin' On
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Intuit, Inc.                                                          Contingent
          Quickbooks                                                            Unliquidated
          2800 E. Commerce Center Place                                         Disputed
          Tucson, AZ 85706
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       7735                         Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 8 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 22 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $11,836.00
          J. Sanchez Produce Inc.                                               Contingent
          2151 N.W. 13th Avenue                                                 Unliquidated
          Bay 1-9                                                               Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Joseph M. Thornton                                                    Contingent
          16421 N.W. 84th Court                                                 Unliquidated
          Hialeah, FL 33016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,350.35
          Karpinski Trucking Produce                                            Contingent
          P.O. box 11                                                           Unliquidated
          Sunbury, PA 17801                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $2,712.00
          La Plazita Cubana                                                     Contingent
          1439 N.W. 23rd Street                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $8,423.00
          Lau Enterprisesk II, Inc.                                             Contingent
          1445 N.W. 23d Street                                                  Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $19,900.00
          Logistics Dynamics Inc.                                               Contingent
          1140 Wehrle Drive                                                     Unliquidated
          Buffalo, NY 14221                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trucker
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $1,900.00
          Maria Ramirez, Inc.                                                   Contingent
          2186 N.W. 13th Avenue                                                 Unliquidated
          Bay 1                                                                 Disputed
          Miami, FL 33142
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 9 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 23 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Marin Produce Group                                                   Contingent
          10425 S.W. 5th Street                                                 Unliquidated
          Miami, FL 33174                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,652.25
          Marlin Leasing
          1500 JFK Blvd.                                                        Contingent
          2 Penn Crt                                                            Unliquidated
          Suite 330                                                             Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number       2001                         Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $95,292.25
          Mineral King Produce, LLC                                             Contingent
          1501 S. Lovers Lane                                                   Unliquidated
          Visalia, CA 93292                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Net Firms Inc.                                                        Contingent
          10 Corporate Drive                                                    Unliquidated
          Burlington, MA 01803                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       8810
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $3,391.00
          New Limeco, LLC                                                       Contingent
          25251 S.W. 139th Avenue                                               Unliquidated
          P.O. Box 924061                                                       Disputed
          Homestead, FL 33032
                                                                             Basis for the claim:    Vendor
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $57,000.00
          Nickey Gregory Company, LLC                                           Contingent
          1930 N.W. 23rd Street                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $36,000.00
          P.A.R. Family Investment
          c/o Arnaldo Velez, Esquire                                            Contingent
          Arnaldo Velez, P.A.                                                   Unliquidated
          35 Almeria Avenue                                                     Disputed
          Miami, FL 33134
                                                                             Basis for the claim:    Rent
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 10 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 24 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $104,000.00
          Pedro O. Rodriguez                                                    Contingent
          12267 S.W. 51st Street                                                Unliquidated
          Miami, FL 33175                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $252.00
          PP Hernandez Produce                                                  Contingent
          1365 N.W. 23rd Street                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $960.00
          Puppy's Jr. Fresh Produce Corp.                                       Contingent
          8248 N.W. 6th Terrace                                                 Unliquidated
          Miami, FL 33126                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $194.04
          Quill Corporation                                                     Contingent
          POB 37600                                                             Unliquidated
          Philadelphia, PA 19101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Office Supplies
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $100,000.00
          Regions                                                               Contingent
          POB 11007                                                             Unliquidated
          Birmingham, AL 35288                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $15,500.00
          Regions Visa Business                                                 Contingent
          P.O. Box 2224                                                         Unliquidated
          Birmingham, AL 35246-3042                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       6810
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $195.00
          Registrars Corp.                                                      Contingent
          144 Research Drive                                                    Unliquidated
          Hampton, VA 23666                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    USFDA filing
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 11 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 25 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $122,000.00
          Scandia Capital Partners                                              Contingent
          P.O. Box 4130                                                         Unliquidated
          Hopkins, MN 55343-0498                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Packing machine
          Last 4 digits of account number       1173
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,000.00
          Scotlyn USA Division                                                  Contingent
          15671 San Carlos Blvd.                                                Unliquidated
          Fort Myers, FL 33908                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trucker
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.    $650,000.00
          Seacoast National Bank                                                Contingent
          815 Colorado Ave                                                      Unliquidated
          Stuart, FL 34994                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number       9501
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $0.00
          Seacoast National Bank
          c/o Adams and Reese, LLP                                              Contingent
          350 East Las Olas Boulevard                                           Unliquidated
          Suite 1110                                                            Disputed
          Fort Lauderdale, FL 33301
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $5,100.00
          Shell Fleet                                                           Contingent
          P.O. Box 9001015                                                      Unliquidated
          Louisville, KY 40290-1015                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Gas Card
          Last 4 digits of account number       4188
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $6,200.00
          Sino-TransAm LLC                                                      Contingent
          709 N.W. 12th Terrace                                                 Unliquidated
          Pompano Beach, FL 33069                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $76,009.97
          South Florida Potato Growers Exch                                     Contingent
          611 N. Wymole Road                                                    Unliquidated
          Winter Park, FL 32789                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 12 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                 Page 26 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $54.25
          South Miami Produce                                                   Contingent
          1305 N.W. 22nd Street                                                 Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $47,500.00
          Stephanie Torres                                                      Contingent
          16421 N.W. 84th Court                                                 Unliquidated
          Hialeah, FL 33016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        Unknown
          Tania Thornton                                                        Contingent
          16421 N.W. 84th Court                                                 Unliquidated
          Hialeah, FL 33016                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $4,344.00
          Tennessee Pride Trucking                                              Contingent
          P.O. Box 12130                                                        Unliquidated
          Fort Pierce, FL 34979-2130                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trucker
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $34,952.00
          Total Green Tropicals                                                 Contingent
          1247 N.W. 21 Street                                                   Unliquidated
          Miami, FL 33142                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.      $31,238.75
          TQL                                                                   Contingent
          1701 Edison Drive                                                     Unliquidated
          Milford, OH 45150                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trucker
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $995.00
          USDA PACA Division                                                    Contingent
          P.O. Box 790327                                                       Unliquidated
          Saint Louis, MO 63179-0327                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number       0202
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 13 of 14
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17                  Page 27 of 47
 Debtor       Cruisin' On Inc.                                                                        Case number (if known)
              Name

 3.80      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                   $222.00
           USDA, AMS, F& V Fresh Branch
           National Service Center                                              Contingent
           100 Riverside Parkway                                                Unliquidated
           Suite 101                                                            Disputed
           Fredericksburg, VA 22406
                                                                             Basis for the claim:    Inspectios
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.81      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $15,420.05
           Volm Companies                                                       Contingent
           1804 Edison St.                                                      Unliquidated
           Antigo, WI 54409-0400                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Supplier Packing machine
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.82      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,064.05
           Waste Connections of Fla                                             Contingent
           3480 N.W. 37th Court                                                 Unliquidated
           Miami, FL 33142                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:
           Last 4 digits of account number      3793
                                                                             Is the claim subject to offset?       No     Yes

 3.83      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $2,307.16
           WP Produce                                                           Contingent
           1471 N.W. 21st Street                                                Unliquidated
           Miami, FL 33142-7729                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.84      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $1,055.00
           Yes Flesh                                                            Contingent
           2140 N.W. 13th Avenue                                                Unliquidated
           Miami, FL 33142                                                      Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Vendor
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                      related creditor (if any) listed?               account number, if
                                                                                                                                                      any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       188,000.00
 5b. Total claims from Part 2                                                                            5b.   +    $                     3,318,136.39

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                        3,506,136.39




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 14 of 14
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                                    Case 17-24938-AJC                 Doc 1       Filed 12/15/17         Page 28 of 47
 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.1.        State what the contract or                   Acct# 002-0051000-001
             lease is for and the nature of               Packing machine
             the debtor's interest

                  State the term remaining                                            First Sound Bank
                                                                                      925 4th
             List the contract number of any                                          Suite 2350
                   government contract                                                Seattle, WA 98104


 2.2.        State what the contract or                   Acct# 9766393-004 - 2
             lease is for and the nature of               Forklifts and 1 floor
             the debtor's interest                        cleaner

                  State the term remaining
                                                                                      HYG Financial Services, Inc.
             List the contract number of any                                          P.O. Box 310590
                   government contract                                                Des Moines, IA 50331-0590


 2.3.        State what the contract or                   Acct# 401-1456832-001
             lease is for and the nature of               Air compressor
             the debtor's interest
                                                                                      Marlin Leasing
                  State the term remaining                                            1500 JFK Blvd.
                                                                                      2 Penn Crt
             List the contract number of any                                          Suite 330
                   government contract                                                Philadelphia, PA 19102


 2.4.        State what the contract or                   Acct# 671173
             lease is for and the nature of               Packing machine
             the debtor's interest

                  State the term remaining
                                                                                      Scandia Capital Partners
             List the contract number of any                                          P.O. Box 4130
                   government contract                                                Hopkins, MN 55343-0498




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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                                    Case 17-24938-AJC                 Doc 1      Filed 12/15/17       Page 29 of 47
 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                   Name                            Check all schedules
                                                                                                                                 that apply:
    2.1                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.2                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.3                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code


    2.4                                                                                                                             D
                                               Street                                                                               E/F
                                                                                                                                    G

                                               City                  State      Zip Code




Official Form 206H                                                           Schedule H: Your Codebtors                                       Page 1 of 1
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17             Page 30 of 47



 Fill in this information to identify the case:

 Debtor name         Cruisin' On Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF FLORIDA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/16
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                             $6,749,458.00
       From 1/01/2016 to 12/31/2016
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $6,712,077.00
       From 1/01/2015 to 12/31/2015
                                                                                                   Other


       For the fiscal year:                                                                        Operating a business                             $6,918,603.00
       From 1/01/2014 to 12/31/2014
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,425. (This amount may be adjusted on 4/01/19
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply

4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
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                                    Case 17-24938-AJC                      Doc 1        Filed 12/15/17             Page 31 of 47
 Debtor       Cruisin' On Inc.                                                                          Case number (if known)



    or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,425. (This amount
    may be adjusted on 4/01/19 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                           Dates                Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case             Court or agency's name and                Status of case
               Case number                                                                  address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions               Dates given                              Value

       9.1.    Stephanie Torres
               16421 N.W. 84th Court
               Hialeah, FL 33016                                                                                         11/17                              $2,500.00

               Recipients relationship to debtor
               NONE


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                       page 2
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                                    Case 17-24938-AJC                        Doc 1         Filed 12/15/17               Page 32 of 47
 Debtor        Cruisin' On Inc.                                                                             Case number (if known)




           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss         Value of property
       how the loss occurred                                                                                                                                   lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                 Who was paid or who received                        If not money, describe any property transferred           Dates               Total amount or
                 the transfer?                                                                                                                              value
                 Address
       11.1.     James A. Poe, Esq.
                 9500 S. Dadeland Blvd.
                 Suite 610
                 Miami, FL 33156                                     $7,125.00                                                                           $7,125.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Joseph Thonton



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers           Total amount or
                                                                                                                         were made                          value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                     Date transfer          Total amount or
                Address                                          payments received or debts paid in exchange                was made                        value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                     Dates of occupancy
                                                                                                                             From-To

 Part 8:       Health Care Bankruptcies
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 3
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                                    Case 17-24938-AJC                      Doc 1        Filed 12/15/17             Page 33 of 47
 Debtor      Cruisin' On Inc.                                                                           Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                Facility name and address                        Nature of the business operation, including type of services           If debtor provides meals
                                                                 the debtor provides                                                    and housing, number of
                                                                                                                                        patients in debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was              Last balance
               Address                                           account number           instrument                  closed, sold,             before closing or
                                                                                                                      moved, or                          transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                       Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                     Names of anyone with                 Description of the contents            Do you still
                                                                     access to it                                                                have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                    page 4
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17             Page 34 of 47
 Debtor      Cruisin' On Inc.                                                                           Case number (if known)



    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                            Status of case
       Case number                                                   address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known               Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Cruisin On Inc.                                  Produce company                                  EIN:         XX-XXXXXXX
             16421 N.W. 84th Court
             Hialeah, FL 33016                                                                                 From-To      02/08/1993-Present

    25.2.    Diamond Produce                                  Produce company                                  EIN:         XX-XXXXXXX
             Wholesalers & Packers In
             2260 N.W. 13th Avenue                                                                             From-To      09/17/2014-Present
             Miami, FL 33142


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                          page 5
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17             Page 35 of 47
 Debtor      Cruisin' On Inc.                                                                           Case number (if known)



26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26a.1.       BIZCPAS                                                                                                              2013-2016
                    1300 N.W. 84th Avenue
                    Miami, FL 33126

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       BIZCPAS                                                                                                              2013-2016
                    1300 N.W. 84th Avenue
                    Miami, FL 33126

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       BIZCPAS                                                                                  2013-2016
                    1300 N.W. 84th Avenue
                    Miami, FL 33126

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?


Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 6
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                                    Case 17-24938-AJC                     Doc 1         Filed 12/15/17             Page 36 of 47
 Debtor      Cruisin' On Inc.                                                                           Case number (if known)




            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         December 15, 2017

 /s/ Joseph M. Thornton                                                 Joseph M. Thornton
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         President

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 7
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                                    Case 17-24938-AJC                    Doc 1        Filed 12/15/17   Page 37 of 47




                                                               United States Bankruptcy Court
                                                                     Southern District of Florida
 In re      Cruisin' On Inc.                                                                             Case No.
                                                                                  Debtor(s)              Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the President of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




 Date:       December 15, 2017                                         /s/ Joseph M. Thornton
                                                                       Joseph M. Thornton/President
                                                                       Signer/Title




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    Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 38 of 47


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            AAA American Select Produce
            1200 N.W. 13th Avenue
            Miami, FL 33142


            Ally Financial
            P O Box 380902
            Bloomington, MN 55438-0902


            Alvarez, Loor, Morejon & Associates
            8201 Peters Road
            Suite 1000
            Fort Lauderdale, FL 33323


            Alvarez, Loor, Morejon & Associates
            8201 Peters Road
            Suite 1000
            Fort Lauderdale, FL 33323


            Ana Rodriguez
            3001 S.W. 17th Avenue
            Miami, FL 33142


            Antelope Dist. Inc.
            P.O. Box 6170
            Lancaster, CA 93539


            Ascendant Comm Ins
            P.O. Box 141368
            Miami, FL 33114


            Bank of Cardiff
            c/o Zach Miller
            P.O. Box 2562
            Del Mar, CA 92014-0562


            Bayshore Produce
            P.O. Box 531110
            Miami, FL 33153


            Biz CPA's
            1300 N.W. 84th Avenue
            Miami, FL 33142
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 39 of 47



        Blue Cross Blue Shield
        P.O. Box 1798
        Jacksonville, FL 32231


        Blue Fire Protection Inc.
        8240 N.W. 170th Terrace
        Hialeah, FL 33015


        Bus Management
        P.O. Box 650448
        Dallas, TX 75265-0448


        Bushman's Inc.
        P.O. Box 8
        Rosholt, WI 54473


        Chicago Produce
        1344 N.W. 23rd Street
        Miami, FL 33142


        Chrysler Capital
        P.O. Box 660647
        Dallas, TX 75266-0647


        City of Miami
        Finance Dept.
        444 S.W. 2nd Avenue
        Miami, FL 33130


        Comcast Business
        One Concast Center
        1701 JFK Blvd.
        Philadelphia, PA 19103-2838


        Crowley Maritine Corp.
        9487 Regency Square Blvd. N.
        Jacksonville, FL 32225


        Customized Brokers
        Crowley Logistics
        P.O. Box 2684
        Carol Stream, IL 60132-2684
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 40 of 47



        Delta Alarm Systems
        P.O. Box 772575
        Miami, FL 33177


        Dependable Packing Solutions
        3505 N.W. 123 Street
        Miami, FL 33167


        Dependable Packing Solutions
        3505 N.W. 123 Street
        Miami, FL 33167


        DI Jenkins & Associates
        P.O. Box 2196
        Charlottetown, PEI


        Diamond Produce Wholesalers & Packers In
        2260 N.W. 13th Avenue
        Miami, FL 33142


        Doral Ins Advisors
        9556 N.W. 41st Street
        Miami, FL 33178


        Eddy Coto Produce
        2151 N.W. 13th Avenue
        Bay 16-17
        Miami, FL 33142


        Euler Helmes Collectios
        North America
        800 Red Brook Blvd.
        #400 C
        Owings Mills, MD 21117


        Exeter Produce & Storage Co. Ltd.
        215 Thames Road West
        Exeter, Ontario Canada


        Federal Ex
        POB 660481
        Dallas, TX 75266
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 41 of 47



        First Sound Bank
        925 4th
        Suite 2350
        Seattle, WA 98104


        First Sound Bank
        925 4th
        Suite 2350
        Seattle, WA 98104


        Fla. Dept. of Ag & Consumer Serv.
        Div of Food Safety
        P.O. Box 6720
        Tallahassee, FL 32314-6720


        Florida Blue
        P.O. Box 1798
        Jacksonville, FL 32231-0014


        Fora Financial
        c/o Richard Watnick
        242 West 36th Street
        #14
        New York, NY 10018


        Forino Produce
        2535 Chemin de la I'glise
        St. Clotilda, Quebec JOL 1WO
        Canada


        Frank M. Minardo, LLC
        P.O. Box 20457
        Mesa, AZ 85277


        Fresh International Dist. LLC
        1620 N.W. 21 Street
        Bay 1
        Miami, FL 33142


        Genaro Produce, Inc.
        1200 N.W. 22nd Street
        Unit #71-90
        Miami, FL 33142
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 42 of 47



        Heritage Farms Produce
        P.O. Box 138
        Belle Glade, FL 33430


        Hernandez & Luna Produce
        2151 N.W. 13th Avenue
        Bay #31
        Miami, FL 33142


        Honorable Wilfredo A. Ferrer
        United States Attorney
        99 N.E. 4th Street
        Miami, FL 33132


        Honroable Eric Holder
        Attorney General of the United States
        Department of Justice, Room 4400
        950 Pennsylvania Avenue N.W.
        Washington, DC 20530-0001


        Horizon Packaging, Inc.
        611 N. Wymore Road
        #212
        Winter Park, FL 32789


        HYG Financial Services, Inc.
        P.O. Box 310590
        Des Moines, IA 50331-0590


        HYG Financial Services, Inc.
        P.O. Box 310590
        Des Moines, IA 50331-0590


        Insure Brite
        7884 West Flagler Street
        Miami, FL 33144


        Internal Revenue Service
        7850 SW 6th Court, Stop 5730
        Fort Lauderdale, FL 33324


        Internal Revenue Service
        7850 SW 6th Court, Stop 5730
        Fort Lauderdale, FL 33324
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 43 of 47



        Intuit, Inc.
        Quickbooks
        2800 E. Commerce Center Place
        Tucson, AZ 85706


        J. Sanchez Produce Inc.
        2151 N.W. 13th Avenue
        Bay 1-9
        Miami, FL 33142


        Joseph M. Thornton
        16421 N.W. 84th Court
        Hialeah, FL 33016


        Karpinski Trucking Produce
        P.O. box 11
        Sunbury, PA 17801


        La Plazita Cubana
        1439 N.W. 23rd Street
        Miami, FL 33142


        Lau Enterprisesk II, Inc.
        1445 N.W. 23d Street
        Miami, FL 33142


        Logistics Dynamics Inc.
        1140 Wehrle Drive
        Buffalo, NY 14221


        Maria Ramirez, Inc.
        2186 N.W. 13th Avenue
        Bay 1
        Miami, FL 33142


        Marin Produce Group
        10425 S.W. 5th Street
        Miami, FL 33174


        Marlin Leasing
        1500 JFK Blvd.
        2 Penn Crt
        Suite 330
        Philadelphia, PA 19102
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 44 of 47



        Marlin Leasing
        1500 JFK Blvd.
        2 Penn Crt
        Suite 330
        Philadelphia, PA 19102


        Mineral King Produce, LLC
        1501 S. Lovers Lane
        Visalia, CA 93292


        Net Firms Inc.
        10 Corporate Drive
        Burlington, MA 01803


        New Limeco, LLC
        25251 S.W. 139th Avenue
        P.O. Box 924061
        Homestead, FL 33032


        Nickey Gregory Company, LLC
        1930 N.W. 23rd Street
        Miami, FL 33142


        P.A.R. Family Investment
        c/o Arnaldo Velez, Esquire
        Arnaldo Velez, P.A.
        35 Almeria Avenue
        Miami, FL 33134


        Pedro O. Rodriguez
        12267 S.W. 51st Street
        Miami, FL 33175


        PP Hernandez Produce
        1365 N.W. 23rd Street
        Miami, FL 33142


        Puppy's Jr. Fresh Produce Corp.
        8248 N.W. 6th Terrace
        Miami, FL 33126


        Quill Corporation
        POB 37600
        Philadelphia, PA 19101
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 45 of 47



        Regions
        POB 11007
        Birmingham, AL 35288


        Regions Visa Business
        P.O. Box 2224
        Birmingham, AL 35246-3042


        Registrars Corp.
        144 Research Drive
        Hampton, VA 23666


        Scandia Capital Partners
        P.O. Box 4130
        Hopkins, MN 55343-0498


        Scandia Capital Partners
        P.O. Box 4130
        Hopkins, MN 55343-0498


        Scotlyn USA Division
        15671 San Carlos Blvd.
        Fort Myers, FL 33908


        Seacoast National Bank
        815 Colorado Ave
        Stuart, FL 34994


        Seacoast National Bank
        c/o Adams and Reese, LLP
        350 East Las Olas Boulevard
        Suite 1110
        Fort Lauderdale, FL 33301


        Shell Fleet
        P.O. Box 9001015
        Louisville, KY 40290-1015


        Sino-TransAm LLC
        709 N.W. 12th Terrace
        Pompano Beach, FL 33069


        South Florida Potato Growers Exch
        611 N. Wymole Road
        Winter Park, FL 32789
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 46 of 47



        South Miami Produce
        1305 N.W. 22nd Street
        Miami, FL 33142


        Special Assistant United States Attorney
        c/o IRS Counsel (SBSE)
        51 S.W. 1st Avenue, P.O. Box 9
        Miami, FL 33130


        Stephanie Torres
        16421 N.W. 84th Court
        Hialeah, FL 33016


        Tania Thornton
        16421 N.W. 84th Court
        Hialeah, FL 33016


        Tennessee Pride Trucking
        P.O. Box 12130
        Fort Pierce, FL 34979-2130


        Total Green Tropicals
        1247 N.W. 21 Street
        Miami, FL 33142


        TQL
        1701 Edison Drive
        Milford, OH 45150


        USDA PACA Division
        P.O. Box 790327
        Saint Louis, MO 63179-0327


        USDA, AMS, F& V Fresh Branch
        National Service Center
        100 Riverside Parkway
        Suite 101
        Fredericksburg, VA 22406


        Volm Companies
        1804 Edison St.
        Antigo, WI 54409-0400
Case 17-24938-AJC   Doc 1   Filed 12/15/17   Page 47 of 47



        Waste Connections of Fla
        3480 N.W. 37th Court
        Miami, FL 33142


        WP Produce
        1471 N.W. 21st Street
        Miami, FL 33142-7729


        Yes Flesh
        2140 N.W. 13th Avenue
        Miami, FL 33142
